139 F.3d 908
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Saul SOLIS, Petitioner,v.IMMIGRATION AND NATURALIZATION SERVICE, Respondent.
    No. 97-70533.INS No. Acd-mwm-dzj.
    United States Court of Appeals, Ninth Circuit.
    Decided Feb. 23, 1998.Submitted Feb. 9, 1998**.
    
      On Petition for Review of an Order of the Board of Immigration Appeals.
      Before PREGERSON, CANBY, and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      Saul Solis, a native and citizen of Mexico, petitions pro se for review of the Board of Immigration Appeals' dismissal of his appeal from an immigration judge's decision denying his application for suspension of deportation.  Because the BIA's final order of deportation was entered after October 30, 1996, the transitional rules of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 ("IIRIRA") apply.  See Kalaw v. INS, No. 97-70106, slip op. 14093, 14098-99 (9th Cir.  Dec. 1, 1997).  Under IIRIRA § 309(c)(4)(E), we lack jurisdiction to review the BIA's discretionary determination that Solis failed to establish the requisite extreme hardship.  See id. at 14101-03.  Accordingly, we dismiss the petition for review.1
    
    
      3
      PETITION FOR REVIEW DISMISSED.
    
    
      
        **
         The panel unanimously finds this case suitable for decision without oral argument.  See Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         We need not consider Solis' contention that the BIA erred in determining that he did not establish good moral character because he is ineligible for suspension of deportation as a result of the BIA's determination that he failed to establish extreme hardship
      
    
    